                                                          1:22CR00053                                       LY
Sealed
Unsealed        x                  Personal Data Sheet  USAO# 2021R06584
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                                             RELATED CASE     YES                     _X_NO
                                                             RELATED CASE NO.

County:             Travis              AUSTIN            Division                 Judge:

Date:       03-23-2022       Mag Ct.#     A-21-M-935            SSN:       Redacted           FBI#:

Case No.:                                          Assistant U. S. Attorney:                 Matthew Devlin

Defendant:                   Franklin Barrett SECHRIEST                          Date of Birth:            Redacted

Defendant aka:
Address:

Citizenship:                  United States                       Mexico                        Other

Interpreter Needed:          Yes          No                         Language

Defense Attorney:                       Daniel Wannamaker, Esq.                                 Employed        X

Address of Attorney:                                                                           Appointed

Defendant is:                In Jail             Where:

                         On Bond                 Amt. of Bond                    Where:

Date of Arrest:                                                            Bench Warrant Needed

Prosecution By:                                           Information                         Indictment        X

Offense (Code &          Ct 1: 18 U.S.C. § 247(c) and (d)(3) Hate Crime Damage to Religious Property
Description):            Ct 2: 18 U.S.C. § 844(h) Use of Fire to commit a Federal Felony
                         Ct 3: 18 U.S.C. § 844(i) Arson

Offense Is:                               Felony            X          Misdemeanor

Maximum Sentence:            Ct. 1: Max. 30 yrs imprisonment; $250K fine; 3 yrs TSR.
                             Ct. 2: Mandatory tO yrs imprisonment; $250K fine; 3 yrs TSR.
                             Ct. 3: Mm. 5 yrs, max. 20 yrs imprisonment; $250K fine; 3 yrs TSR.
Penalty is Mandatory:          Yes            as to SA & Cts 2 & 3 terms   of imprisonment            No

Remarks:
